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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK.

 

 

JEREMIAH NOLAN, JR. and
SANDRA NOLAN, Individually NOTICE OF REMOVAL

and as husband & wife,

Plaintiffs,
vs. NYS Index No. 811352-2019
| 19 = CV1245R
COUNTY OF ERIE, ERIE COUNTY SHERIFF’S Civil Action No.

DEPARTMENT, TIMOTHY B. HOWARD,
MARK WIPPERMAN, THOMAS DIINA, and
JEFFREY HARTMAN,

Defendants.

 

TO: THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE WESTERN
DISTRICT OF NEW YORK:

PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§ 1441(b) and 1446, defendants
COUNTY OF ERIE, ERIE COUNTY SHERIFF’S DEPARTMENT, TIMOTHY B. HOWARD,
MARK N. WIPPERMAN, THOMAS DIINA, and JEFFREY HARTMAN, hereby remove to
this Court the civil action filed in the Supreme Court of the State of New York, County of Erie,
as described below.

On September 5, 2019, plaintiffs JEREMIAH NOLAN, JR. and SANDRA NOLAN,
Individually and as husband and wife, filed a civil action against COUNTY OF ERIE, ERIE
COUNTY SHERIFF’S DEPARTMENT, TIMOTHY B. HOWARD, MARK N. WIPPERMAN,
THOMAS DIINA, and JEFFREY HARTMAN, Case Index Number: 811352/2019, in the
Supreme Court for the State of New York, County of Erie.

On September 9, 2019, plaintiffs served the Summons and Complaint in the above-

referenced state court action upon defendants. A copy of the Summons and Complaint in the
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state court action are attached hereto as Exhibit A. Copies of the Affidavits of Service are

attached as Exhibit B.

No further proceedings have been had in the state court action. Plaintiffs’ Complaint
contains a cause of action alleging violation of plaintiffs’ civil rights under the Fourteenth
Amendment rights under the United States Constitution.

Accordingly, this Court has original jurisdiction over the state court action under 28
U.S.C. §1331 (federal question) because it is a civil action that arises under the Constitution,

laws, or treaties of the United States.

No previous application has been made for the relief requested herein.

Dated: Buffalo, New York
September 16, 2019 MICHAEL A. SIRAGUSA

Erie County Attorney

TARY
Erin E. Molisani
Assistant County Attorney
95 Franklin Street, Room 1634
Buffalo, New York 14202
Telephone: (716) 858-2216
Email: Erin.Molisani@erie.gov

To: Steven M. Cohen, Esq.
HOGANWILLIG, PLLC
Attorneys for plaintiffs
2410 North Forest Road, Suite 301
Amherst, New York 14068
Telephone: (716) 636-7600
Email: scohen@hoganwillig.com
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Index of Documents
filed in State Court prior to removal

Document Date of Filing
A. Summons and Complaint September 5, 2019
B. Affidavits of Service September 10, 2019
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CERTIFICATE OF SERVICE

I hereby certify that on September 16, 2019, I mailed the foregoing Notice of Removal,

by the United States Postal Service, to the following individuals:

Dated:

Steven M. Cohen, Esq.
HOGANWILLIG, PLLC
Attorneys for plaintiffs

2410 North Forest Road, Suite 301
Amherst, New York 14068
Telephone: (716) 636-7600
Email: scohen@hoganwillig.com

Buffalo, New York
September 16, 2019 MICHAEL A. SIRAGUSA

Erie County Attorney
TON WW
Erin E. Molisani
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STATE OF NEW YORK |

 

 

SUPREME COURT: COUNTY OF ERIE

 

JEREMIAH NOLAN, JR. and
SANDRA NOLAN, Individually and as
Husband and Wife,

23 Dogwood Drive

Cheektowaga, New York 14227,

Plaintiffs, SUMMONS
Vv.
Index No.:
COUNTY OF ERIE
95 Franklin Street

Buffalo, New York 14202,

ERIE COUNTY SHERIFF’S DEPARTMENT
10 Delaware Avenue
Buffalo, New York 14202,

TIMOTHY B. HOWARD
10 Delaware Avenue
Buffalo, New York 14202,

MARK N. WIPPERMAN
10 Delaware Avenue
Buffalo, New York 14202,

THOMAS DIINA
10 Delaware Avenue
Buffalo, New York 14202, and

JEFFREY HARTMAN
10 Delaware Avenue
Buffalo, New York 14202,
Defendants.

 

TO THE ABOVE NAMED DEFENDANTS:
YOU ARE HEREBY SUMMONED to answer the Complaint in this action, and to
serve a copy of your Answer or, if the Complaint is not served with a Summons, to serve a
Notice of Appearance, on Plaintiffs' attormey within twenty (20) days after the service of this
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HocanWILLIG
Attorneys at Law

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Summons, exclusive of the day of service, or within thirty (30) days after completion of service
where service is made in any other manner than by personal delivery within the State. In case of
your failure to appear or answer, judgment will be taken against you by default for the relief

demanded in the Complaint.

This action is brought to you in ERIE COUNTY based upon Plaintiffs’ residence, the

county in which the municipal Defendants are located, and the locations of the incidents.

DATED: September 5, 2019

Amherst, New York Ex by Zz Lo

Steven M. Cohen, Esq.
William A. Lorenz, Jr., Esq.
HoganWillig, PLLC ©
Attorneys for Plaintiffs
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STATE OF NEW YORK

SUPREME COURT: COUNTY OF ERIE

 

JEREMIAH NOLAN, JR. and
SANDRA NOLAN, Individually and as

Husband and Wife,
COMPLAINT
Plaintiffs,
Index No.:
Vv.
COUNTY OF ERIE, i

ERIE COUNTY SHERIFF’S DEPARTMENT,
TIMOTHY B. HOWARD,
MARK N. WIPPERMAN,
THOMAS DIINA, and
JEFFREY HARTMAN,
Defendants.

 

Plaintiffs JEREMIAH NOLAN, JR. and SANDRA NOLAN, Individually and as
Husband and Wife, by and through their attorneys, HOGANWILLIG, PLLC, as and for their
Complaint against Defendants COUNTY OF ERIE, ERIE COUNTY SHERIFF’S
DEPARTMENT, TIMOTHY B. HOWARD, MARK N. WIPPERMAN, THOMAS DIINA, and
JEFFREY HARTMAN herein, allege as follows:

1. At all relevant times hereinafter mentioned, Plaintiffs were and still are citizens of
the United States of America and residents of the County of Erie and State of New York,
residing at 23 Dogwood Drive, Cheektowaga, New York 14227.

2. At all relevant times hereinafter mentioned, Plaintiff Jeremiah Nolan, Jr. and
Plaintiff Sandra Nolan are individuals residing in the County of Erie, State of New York, and are

husband and wife. Unless further specified, references to Plaintiff in the singular shall refer

 

 

solely to Plaintiff Jeremiah Nolan, Jr.

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3. Defendant County of Erie (“Defendant Erie County”) was and is a municipal

 

 

 

 

corporation organized and existing under the laws of the State of New York, with principal
offices located at 95 Franklin Street, City of Buffalo, County of Erie, State of New York.

4. Defendant County of Erie operated and maintained a department known as the
Erie County Sheriff's Department (“Defendant Sheriff's Department”), with principal offices at
10 Delaware Avenue in City of Buffalo, County of Erie, and State of New York.

5. Defendant Erie County Sheriff's Department is an entity under the control of an
elected Sheriff, as provided for in the New York State Constitution Chapter XIII § 13(a), with
principal offices located at 10 Delaware Avenue, Buffalo, NY 14202

6. Defendant Timothy B. Howard (“Defendant Howard”) was and still is a natural
person residing in the County of Erie and State of New York, and at all times relevant herein,
was the duly elected Sheriff of Erie County, New York.

7. At all times hereinafter mentioned, Defendant Howard was and is an employee of
Defendant Sheriff's Department, and Defendant County of Erie.

8. At all times hereinafter mentioned, Defendant Mark N. Wipperman (“Defendant
Wipperman”) was and still is a natural person residing in the County of Erie and State of New
York, and the duly designated Undersheriff of the County of Erie

9. At all times hereinafter mentioned, Defendant Wipperman was and is an
employee of Defendant Sheriff's Department, and Defendant County of Erie.

10. Upon information and belief, at all times hereinafter mentioned, Defendant
Thomas Diina (“Defendant Diina”) was and still is a natural person residing in the County of

Erie and State of New York.

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11. Upon information and belief, at all times hereinafter mentioned, Defendant Diina |

was and is an employee of Defendant Sheriff's Department, and Defendant County of Erie.
12. Upon information and belief, at all times hereinafter mentioned, Defendant

Jeffrey Hartman (“Defendant Hartman”) was and still is a natural person residing in the County

 

| of Erie and State of New York.
| 13. | Upon information and belief, at all times hereinafter mentioned, Defendant
Hartman was and is an employee of Defendant Sheriff's Department, and Defendant County of
Erie.

14. This action arises under New York State law and under the United States

Constitution, in particular under the provisions of the Fifth and Fourteenth Amendments to the

Constitution, as further made applicable to the states pursuant to 42 U.S.C. 1983.

 

15. At all relevant times stated herein, all activities giving rise to the instant action

occurred within the State of New York.

16. Each of the acts of Defendants Howard, Wipperman, Diina, and Hartman were

 

performed in the course of their employment with Defendant Sheriff's Department and under the
color and pretense of the law, statutes, ordinances, regulations, customs and usages of the State
of New York and County of Erie, and under their authority and within the scope of their
employment as police officers.

17. Alternatively, each of the acts of Defendants Howard, Wipperman, Diina, and
Hartman were done maliciously, intentionally, wantonly and/or negligently and performed
outside the scope of their respective employments with Defendant Sheriff's Department or in

excess of their authority pursuant to said employment.

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18. Plaintiff sues Defendants Howard, Wipperman, Diina, and Hartman, public
employees in both their official and individual capacities.

19. On or about September 20, 2018, and within ninety (90) days after the incident
herein sued upon accrued, Plaintiff served upon Municipal Defendants, through their duly
authorized agents, a written Notice of Claim pursuant to Section 50-e of the General Municipal
Law of the State of New York setting forth the time, place, nature, and manner in which the
claim arose, followed by an Amended Notice of Claim on or about April 18, 2019. A copy of
the Amended Notice of Claim is attached hereto as Exhibit A.

20. On or about July 5, 2019, Defendants’ counsel served on Plaintiffs’ attorneys a
Notice of Examination Pursuant to Section 50-h of thé General Municipal Law, scheduling
Plaintiffs’ examination for October 1, 2019. A copy of Defendants’ Notice is attached hereto as
Exhibit B.

21. That more than thirty (30) days have elapsed from the date the Notice of Claim
was served and, at the time of this Complaint, Defendants have made no offers to settle this
claim.

22. This action is being commenced within one (1) year and ninety (90) days from the
date the claims based upon New York State law accrued.

23. Venue is proper in Erie County based upon Plaintiffs residence and the locations
of the incidents.

24. | That New York State Supreme Court, Erie County, has subject matter jurisdiction
over Defendants.

25. That the amount in controversy exceeds the jurisdictional amount of New York’s

lower courts and that this is a proper forum for this matter.

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FACTS PERTAINING TO ALL CLAIMS

26. On or about May 27, 2018, Plaintiff Jeremiah Nolan, Jr. (“Plaintiff”) was lawfully
present and working on Defendant Sheriff Department’s facility at Erie County Medical Center.

27. Upon information and belief, on or about May 27, 2018, Plaintiff, during the
course of his employment, found a magazine pouch in the desk drawer of Defendant Sheriff
Department’s office, located on the ninth floor of Erie County Medical Center (“ECMC Office”)
and, based on written directives detailed in said ECMC Office, Plaintiff moved the magazine
pouch to the top of a gun box in said ECMC Office.

28. On or about June 2, 2018, Plaintiff was informed by his union representative that
there was an allegation that Plaintiff stole an ammunition magazine, and not just a magazine
pouch, from the ECMC Office.

29. Onor about June 7, 2018, Plaintiff received a call from an agent and/or employee
of Defendant Erie County and/or Defendant Sheriff's Department directing Plaintiff to report to
the Captain’s Office of Defendant Sheriff's Department.

30. On or about June 8, 2018, as directed, Plaintiff met with Defendant Hartman and
was given the option to either resign from the employment of Defendant Sheriff's Department or
criminal charges would be filed against him and he would be arrested that day.

31.. Plaintiff attempted to explain the circumstances surrounding the accusation,
explained it was a magazine pouch without a magazine, where he put it and why, and Defendants

refused to listen.

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32. On or about the same day, June 8, 2018, Plaintiff received a letter from Defendant
| Sheriff's Department, signed by Defendants Diina and Hartman, informing him that he was on
administrative leave without pay and was ordered to home confinement.

33. The order of home confinement was improper, unlawful and without legal

 

 

justification.

34. Plaintiff was improperly and without legal justification confined to his home from
June 8, 2018 through June 14, 2018.

35. All attempts by Plaintiff to explain the facts of the situation, and the errors and
legal insufficiencies of and committed by Defendants were futile.

36. On or about June 22, 2018, Plaintiff's employment with Defendant Sheriff's
Department was, as a result of an intentionally deficient and improper and negligent
investigation, wrongfully terminated by Defendants Wipperman, Diina and Hartman, in their |
official capacities and by Defendants County of Erie, and Erie County Sheriff's Department.

37. As a result of the foregoing, Plaintiff had night terrors, increasing in frequency
and intensity. Plaintiffs symptoms included: feelings of paranoia, duress, chest pains, trouble |
breathing, severe sweating, and disorientation upon waking up.

38. Plaintiffs night terrors consisted of employees from work, Plaintiff's superiors
involved with this incident, hunting and harming him, always resulting in severe injury or near i

death to Plaintiff.

 

 

39, On or about June 26, 2018, Plaintiff was arrested and charged with Petit Larceny,

a Class-A misdemeanor, under Penal Law 155.25.

40. As a career law enforcement officer, the charge, if sustained, would forever be an

impediment to future employment as a police officer.

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41. On or about June 26, 2018, Defendant Howard published and/or released the
following defamatory statement to various press and media outlets regarding Plaintiff,
“Y cannot understand how a sworn officer could take another officer’s lifeline—the magazines
for his duty gun. It was evident that his misconduct warranted his termination.”

42. On or about December 17, 2018, after intense criminal proceedings culminating
in an exhausting and expensive trial, Plaintiff was fully acquitted of the aforementioned charges
by the Honorable Craig D. Hannah, Chief Judge of Buffalo City Court.

43. On or about December 22, 2018, following the verdict of acquittal, Plaintiff was
advised he would be reinstated by Defendant Sheriff's Department.

44. Upon reinstatement, Plaintiff was advised by Defendants and his Union that he
was entitled to full back payment and wages during the time of his wrongful termination. To
date, Plaintiff has not been provided with the payment of said back payment and/or wages.

45. On or about March 26, 2019, Plaintiff returned to work.

46. | Upon returning to work, Plaintiff experienced hostility and retaliation from agents
and/or employees of all Defendants herein.

47. The stress of the negative publicity, termination, hostility and retaliation by
Defendants against Plaintiff Jeremiah Nolan, Jr. affected both Plaintiffs profoundly and caused
great stress to Sandra Nolan and Jeremiah Nolan, Jr.

48. Plaintiff has a history of asserting his rights and filing grievances through proper
channels against the Defendants herein.

49. _ Plaintiff has a history of seeking legal redress against Defendants for conduct
Plaintiff deemed illegal or wrong. Defendants have been resentful of Plaintiff for seeking such

redress.

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AS AND FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANTS:
WRONGFUL TERMINATION

50. Plaintiffs repeat and re-allege each and every allegation of this Complaint
numbered “1” through “49” with the same force and effect as if more fully set forth herein.

51. On or about June 22, 2018, Plaintiffs employment with Defendant Sheriff's
Department was, as a result of an improper and negligent investigation, wrongfully terminated
by all defendants herein.

52. On or about December 22, 2018, Plaintiff was reinstated by Defendant Sheriff's
Department and was entitled to the payment of back payment and wages of which Plaintiff was
deprived during the time of his wrongful termination.

53. To date, Plaintiff has not been provided with the payment of back payment and
wages.

54. As a result of the foregoing wrongful termination, Plaintiffs have been financially
injured and damaged, and were subjected to humiliation and embarrassment, all to Plaintiffs’
damage in a sum exceeding the jurisdictional limits of all lower courts.

AS AND FOR A SECOND CAUSE OF ACTION AGAINST DEFENDANTS:
ADMINISTRATIVE NEGLIGENCE

55. Plaintiffs repeat and re-allege each and every allegation of this Complaint
numbered “1” through “54” with the same force and effect as if more fully set forth herein.

56. Defendants individually and through their agents, servants, and/or employees,
failed to use due care to conduct.a proper investigation, which led to a negligent investigation
and false charges being brought against Plaintiff Jeremiah Nolan, Jr.

57. The negligent investigation was a proximate cause of the wrongful termination of

Plaintiff.

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58. The negligent investigation led to Plaintiff being arrested and forced to appear in
a court of law for a crime he did not commit and was in fact acquitted of.

59. Asaresult of the foregoing, Plaintiffs have been financially injured and damaged,
and were subjected to humiliation and embarrassment, all to Plaintiffs' damage in a sum
exceeding the jurisdictional limits of all lower courts.

AS AND FOR A THIRD CAUSE OF ACTION AGAINST DEFENDANTS:
DEFAMATION PER SE

60. Plaintiffs repeat and re-allege each and every allegation of this Complaint
numbered “1” through “59” with the same force and effect as if more fully set forth herein.

6l. On or about June 26, 2018, Defendant Howard released the following defamatory
statement to various press and media outlets regarding Plaintiff Jeremiah, “I cannot understand
how a sworn officer could take another officer’s lifeline—magazines for his duty gun. It was
evident that his misconduct warranted his termination.”

62. On or about June 26, 2018, based on the statement of Defendant Howard, a news
outlet released an article titled, “What one Erie County Sheriff's deputy did that got him arrested
and fired,” referring to Plaintiff.

63. The article contained Defendant Howard’s statement regarding Plaintiff, “I cannot
understand how a sworn officer could take another officer’s lifeline—magazines for his duty
gun. It was evident that his misconduct warranted his termination.”

64. Defendant Howard falsely accused Plaintiff of committing crimes and/or conduct
involving moral turpitude.

65. Defendant Howard's statements were false when made.

66. Defendant Howard's false statements were made with malice.

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67. Defendant Howard knew or should have known the statements were false or
should have had serious doubts about their truth, and published the statements anyway, with a

reckless disregard of the probable falsity.

68. As a result of the Plaintiffs’ false and defamatory statements, Plaintiffs have

 

 

incurred losses, damages, and special damages, including out of pocket pecuniary losses, all of
which exceed the jurisdictional limits of all lower courts.

AS AND FOR A FOURTH CAUSE OF ACTION AGAINST DEFENDANTS:
HARASSMENT

69. Plaintiffs repeat and re-allege each and every allegation of this Complaint
numbered “1” through “68” with the same force and effect as if more fully set forth herein.

70. Upon reinstatement as a police officer, Plaintiff received from agents of all
Defendants herein, threatening comments, harassing behavior, denial to use restroom, etc, which
rendered Plaintiff Jeremiah Nolan, Jr. deeply emotionally distraught.

i 71. | On or about February 13, 2019, although Plaintiff submitted the required doctor’s
notes, Plaintiff's extended sick leave was abruptly stopped without just cause.

72. On or about March 25, 2019, an agent of Defendants’, Lieutenant Adamek said,

 

 

“Looks like you burnt too many bridges around here” and caused and forced Plaintiff to work an
additional eight hour shift, contrary to the overtime restrictions Plaintiff had from FMLA, at the

instance of Defendants herein.
73. On or about March 25, 2019, Lieutenant Adamek wrote up Plaintiff for leaving

his post under circumstances which didn’t warrant that sanction, all at the instance of Defendants

herein.

 

 

74. Upon information and belief, at the instance of Defendants herein, Plaintiff was

targeted for leaving his post, while other employees were not, for conduct that was part of the

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routine pattern and practice of officers which had never constituted the offense of leaving one’s
post.

75, On or about March 28, 2019, Deputy Mare Scarpace verbally assaulted Plaintiff
in the men’s locker room at ECHC. The verbal assault consisted of Deputy Marc Scarpace

telling Plaintiff to “fuck yourself” in front of other people.

 

 

76. | Upon information and belief, Deputy Scarpace’s conduct was at the behest and
instance of the Defendants herein.

77. On or about March 28, 2019, Plaintiff reported the incident and filled out a
complaint form against Deputy Scarpace that Defendants refused to process or act on.

78. On or about April 5, 2019, Plaintiff was directed to return his hard copy binder,
and given a CD in place of his Policy and Procedures Hard Copy Binder (“P&P”). Plaintiff was

the only deputy asked to turn in their hardcopy P&P.

 

 

79. On or about April 23, 2019, Plaintiff was written up for exhaustion of his FMLA
time despite having eight hours remaining.

80. Onor about May 30, 2019, during a meeting with Professional Standards Division
(“PSD”), Chief Union Steward Deputy Mark Geary stated that the behaviors inflicted upon
! Plaintiff are an outright and blatant “witchhunt.” |
81. Asa result of the foregoing, Plaintiffs have been injured and damaged, and were

subjected to humiliation and embarrassment, all to Plaintiffs' damage in a sum exceeding the |

 

 

jurisdictional limits of all lower courts.

AS AND FOR A FIFTH CAUSE OF ACTION AGAINST DEFENDANTS: VIOLATION
OF PLAINTIFFS' CIVIL RIGHTS

82. Plaintiffs repeat and re-allege each and every allegation of this Complaint
numbered “1” through “81” with the same force and effect as if more fully set forth herein.

{H2284353.3} 11

HocanWILLIG
Attorneys at Law
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Phone: 716.636.7600 | Toll Free: 800.636.5255 | Fax: 716.636.7606 | www.hoganwillig.com |

 

 
Case 1:19-cv-01245-CCR Document1 Filed 09/16/19 Page 19 of 33

 

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83. Plaintiff's employment with Defendant Sheriff's Department was, as a result of an
improper deficient, intentionally non-professional, non-thorough and negligent investigation,
wrongfully terminated by Defendants Sheriff's Department, County of Erie, Wipperman, Diina,
and Hartman, in direct violation of Plaintiff's civil rights under the United States Constitution.

84. Defendants County of Erie and Erie County Sheriff's Department had a custom,
policy and practice of retaliating against officers who sought legal redress against the Defendants
herein.

85. The aforesaid conduct employed during the harassment, termination of Plaintiff's
employment, and arrest was in direct violation of Plaintiffs civil rights under the Fourteenth
Amendment of the United States Constitution to be secure against deprivations of liberty without
due process of law, and constituted Tortious Conduct under New York State Law.

86. The aforesaid conduct of Defendants was pursuant to a policy and custom of
Defendants County of Erie and Erie County Sheriffs Department.

87. Asa result of the foregoing, Plaintiffs have been injured and damaged, and was
subjected to humiliation and embarrassment, all to Plaintiffs’ damage in a sum exceeding the
jurisdictional limits of all lower courts.

AS AND FOR A SIXTH CAUSE OF ACTION AGAINST DEFENDANTS:
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

88. Plaintiffs repeat and re-allege each and every allegation of this Complaint
numbered “1” through “87” with the same force and effect as if more fully set forth herein.

89. Defendants’ actions in conducting an improper and negligent and deficient
investigation leading to the termination of Plaintiff's job, arrest, and harassment of and retaliation

against Plaintiff were outrageous, shocking and exceeded all reasonable bounds of decency.

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90. That the aforesaid actions of the individual Defendants were taken with the
intention of causing Plaintiff severe emotional distress such that Plaintiff would resign his
position.

91. The aforesaid actions of the individual Defendants, and their agents identified
herein, were performed in the furtherance of their respective employment with Defendant
Sheriff's Department.
| 92. As a result of the foregoing, Plaintiffs have been injured and damaged, and were
subjected to humiliation and embarrassment, all to Plaintiffs' damage in a sum exceeding the

| jurisdictional limits of all lower courts.

AS AND FOR A SEVENTH CAUSE OF ACTION AGAINST DEFENDANTS: |
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

93. Plaintiffs repeat and re-allege each and every allegation of this Complaint
numbered “1” through “92” with the same force and effect as if more fully set forth herein.
| 94. That Defendants had a duty to not unlawfully interfere with Plaintiff's
employment and liberty.
| 95. That Defendants breached that duty. |

96. The Defendants followed the policies and procedures of Defendants County of
Erie and Erie County Sheriff's Department which tolerates such tortious conduct in instances
where an unpopular or disliked officer, by virtue of his having filed claims against Defendants, is
the target.

| 97. The aforesaid actions of the individual Defendants caused Plaintiffs severe

emotional distress.

 

 

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HocGAaNnWILLIG
Attorneys at Law
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98. The aforesaid actions of the individual Defendants caused Plaintiffs to fear for
their physical safety.

99. The aforesaid incidents were caused wholly and solely as a consequence of the
carelessness of the individual Defendants and without any negligence on the part of Plaintiff
contributing thereto.

100. The aforesaid actions of the individual Defendants were performed in the
furtherance of their respective employment with Defendant Sheriff's Department.

101. Alternatively, the conduct of Defendants Howard, Wipperman, Diina and
Hartman was done on an individual basis.

102. Asa result of the foregoing, Plaintiffs have been injured and damaged, and were
subjected to humiliation and embarrassment, all to Plaintiffs' damage in a sum exceeding the

jurisdictional limits of all lower courts.

AS AND FOR AN EIGHTH CAUSE OF ACTION
AGAINST ALL DEFENDANTS: LOSS OF CONSORTIUM

103. Plaintiffs repeat and re-allege each and every allegation of this Complaint
numbered “1” through “102” with the same force and effect as if more fully set forth herein.

104. Now, and at all relevant times indicated above, Plaintiff Sandra Nolan was and is
the lawful wife of Plaintiff Jeremiah Nolan, Jr.

105. As the lawful wife of Plaintiff Jeremiah Nolan, Jr., Plaintiff Sandra Nolan is
entitled to the society, affection, companionship, aid, and consortium of her husband, Jeremiah
Nolan, Jr.

106. As a result of the negligence and deprivation of liberty by Defendants in

conjunction with the wrongful termination inflicted upon Plaintiff Jeremiah Nolan, Jr., Plaintiff

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Attorneys at Law
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Sandra Nolan lost the society, affection, companionship, aid and consortium of her husband that

she enjoyed prior to the acts of Defendants.

107. Asa result of the foregoing, Plaintiffs have been injured and damaged, and was
subjected to humiliation and embarrassment, all to Plaintiffs’ damage in a sum exceeding the

jurisdictional limits of all lower courts.

 

 

WHEREFORE, Plaintiffs demand judgment in an amount to be determined upon the
trial of this action, together with the costs and disbursements of this action, including attorneys’

fees, and for such other and further relief to Plaintiffs as this Court may deem just and proper.

DATED: September st 2019

Amherst, New York Lt FF
‘Steven M. Cohen, Esq.
William A. Lorenz, Jr., Esq.
HoganWillig, PLLC
Attorneys for Plaintiffs
2410 North Forest Road, Suite 301
Amherst, New York 14068
(716) 636-7600

scohen@hoganwillig.com

 

 

 

 

{122843533}
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/ Attorneys at Law
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Deponent had previously attempted to serve the above-named defendant(s) pursuant to CPLR Sec. 308

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Deponent had previously attempted to serve the above-named defendant(s) pursuant to CPLR Sec. 308

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To my best knowledge, information and belief the said defendant at the time of service was not engaged in.
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Deponent had previously attempted to serve the above-named defendant(s) pursuant to CPLR Sec. 308

 

 

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Deponent had previously attempted to serve the above-named defendant(s) pursuant 10 CPLR Sec. 308

 

 

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STATE OF NEW YORK
SUPREME COURT: COUNTY OF ERIE

JEREMIAH NOLAN, JR. and
SANDRA NOLAN, Individually and as

Husband and Wife,
AFFIDAVIT OF SERVICE
Plaintifts, BY MAIL
Vv. Index No.: 811352/2019

COUNTY OF ERIE,
ERIE COUNTY SHERIFF’S DEPARTMENT,
TIMOTHY B. HOWARD,
MARK. N. WIPPERMAN,
THOMAS DIINA, and
JEFFREY HARTMAN,
Defendants.

Stephanie M. Sweeney, being duly sworn deposes and says, deponent is not a party to the action,
is over 18 years of age and resides in Niagara County, New York. On September 10, 2019, deponent
mailed a copy of the Notice of Electronic Filing, Summons and Complaint to:

TIMOTHY B. HOWARD MARK N. WIPPERMAN
10 Delaware Avenue 10 Delaware Avenue
Buffalo, New York 14202, Buffalo, New York 14202,

by depositing a true copy of the same in postpaid properly addressed plain wrapper bearing the legend
“personal and confidential’’, and not indicating on the outside thereof, by return address or otherwise,
that the communication is from an attorney or concerns an action against the person to be served, by first
class mail, and in an official depository under the exclusive care and custody of the United States Postal

Service within the State of New York. |
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‘Stéphanie M. Sweeney
Sworn to before me on the 10th day

of September, 2019.
yjiae . /DPo_.-, of Patricia M. tfkovich
UB Bei het RV Os Notary Public, Stata of New York
Notary Public ' Qualified In Erie Courty
My Commission Expires Aug. 3, 02d02
HocGanWILLIG

Attorneys at Law
2410 NORTH FOREST ROAD | SUITE 301 | AMHERST, NEW YORK 14068
Phone: 716.636.7600 | Toll Free: 800.636.5255 | Fax: 716.636.7606 | www.hoganwillig.com
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Deponent also served a copy af the by depositing a true copy of the same in a post-
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Deponent had previously attempted to serve the above-named defendant(s) pursuant to CPLR Sec. 308

 

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STATE OF NEW YORK
SUPREME COURT: COUNTY OF ERIE

JEREMIAH NOLAN, JR. and
SANDRA NOLAN, Individually and as

Husband and Wife,
AFFIDAVIT OF SERVICE
Plaintiffs, BY MAIL
Vv. Index No.: 811352/2019

COUNTY OF ERIE,
ERIE COUNTY SHERIFF’S DEPARTMENT,
TIMOTHY B. HOWARD,
MARK N. WIPPERMAN,
THOMAS DINA, and
JEFFREY HARTMAN,
Defendants.

 

Stephanie M. Sweeney, being duly sworn deposes and says, deponent is not a party to the action,
is over 18 years of age and resides in Niagara County, New York. On September 11, 2019, deponent
mailed a copy of the Notice of Electronic Filing, Summons and Complaint to: .

THOMAS DIINA JEFFREY HARTMAN
10 Delaware Avenue 10 Delaware Avenue
Buffalo, New York 14202, and Buffalo, New York 14202,

by depositing a true copy of the same in postpaid properly addressed plain wrapper bearing the legend
“personal and confidential”, and not indicating on the outside thereof, by return address or otherwise,
that the communication is from an attorney or concerns an action against the person to be served, by first
class mail, and in an official depository under the exclusive care and custody of the United States Postal

Service within the State of New York. .
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Stephanie M. Sweeney
Sworn to before me on the 11th day

of September 2919. ty ~ 9
—_ A Nope
IQ \— ONE ) Robin H. Dunalf

Rintacw ——— - Notary Public State of New York _ x?
Notary Public Qualified in Erie County XR 11 ee

My Commission Expires
HoGanWILLIG

Attorneys at Law
2410 NORTH FOREST ROAD | SUITE 301 | AMHERST, NEW YORK 14068
Phone: 716.636.7600 | Toll Free: 800.636.5255 | Fax: 716.636.7606 | www.hoganwillig.com

 

 

SUEZARGS28,1)

 

1 of 1

BCEF DOC. NO. II RECEIVED NYSCEF: 09/11/2

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INDEX NO. 811352/2019
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Case 1:19-cv-01245-CCR Document1 Filed 09/16/19 Page 31 of 33

 

 

(FILED: ERIE COUNTY CLERK 09/11/2019 11:11 AM - INDEX NO. 811352/2019
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tiff, ON AN INDIVIDUAL
—e- OR CORPORATION
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Fava Coury SHenines Remermenr Indy Né. & \ \35/2019
Er At.
State of New York ¥
County of E2 ss i ae .-
Metab Ms4x%5428 sworn; deposes and says that he is over
18 years of age and not a party to this action, that on Te jag SESCAMESL BOF
at approximately. PM _// AS AM at /0 LA: ever  Butfaso
- New York deponent served the anne | DEé4
dha dafondane dong herein fr the edn en crlifica oc @-FiCine
0 individual By delivering to and leaving with said a a personally

2 true copy thereof, and that he knew the person so’served to be.
the person mentioned and debciited in said

 

 

 

OC Corporauon, By delivering to and leaving with ___ seit and he knew
the person so served to be. : al defenders ccxporefon

 

JA Responsble By delivering to and leaving with!/iciié Paorenss Ue - PssiszouT To fle S024 + Je
Person true copy thereof, 3 person of suitable age and discretion. Said’ prernises being the defendants (dwelling -
-Placepusvalplace.chebecie) (place of business) withir. the State of New York.

C1] Substauted By affixing a true copy thereof to the door of said premises the same béing the defendants (dwelling place)
Service (usual place of abode) (place of business) withnn the State of New York.

Cl Mait Depenent also served a copy af the by depositing a true copy of the same in a post-
. paid, properly addressed envelope m an official depository under the exclusive care and Custody of the United
States post office in the State of New York

 

O Previous Deponent had previcusly attempted to serve the above-named detendantis) pursuant to CPLR Sec. 308

 

 

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I Descripton The person would be described as approximately. S737 years of age _L2O __ Ibs.
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—_ HA2zeo eyes other

ix Miftary To my best knowledge, information and belief the said defendant at the time of service was not engaged in
tuilitary service of the United States.

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Sworn to belore me wis JL ay of
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Nezary Pubic b ws of A date” (om m >
STEPHANIE M. SWEENEY
Notary Public, State of New York |
Qu lified in Niagara County
Commission’Expires 3/22/ Sf 1
Case 1:19-cv-01245-CCR Document1 Filed 09/16/19 Page 32 of 33

CERTIFICATE OF SERVICE

I hereby certify that on September 16, 2019, I mailed the foregoing Notice of Removal,

by the United States Postal Service, to the following individuals:

Dated:

Steven M. Cohen, Esq.
HOGANWILLIG, PLLC
Attorneys for plaintiffs

2410 North Forest Road, Suite 301
Amherst, New York 14068
Telephone: (716):636-7600
Email: scohen@hoganwillig.com

Buffalo, New York
September 16, 2019 MICHAEL A. SIRAGUSA

Erie County Attorney

S/ Erin E. Molisani

Erin E. Molisani |

Assistant County Attorney

95 Franklin Street, Room 1634
Buffalo, New York 14202
Telephone: (716) 858-2216
Email: Erin.Molisani@erie.gov
‘ * Case 1:19-cv-01245-CCR Document1 Filed 09/16/19 Page 33 of 33 . .

Bu (aces CIVIL COVER SHEET 19 CV1245

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as na by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

GEM KANGUAN'SR. and CBBRAYRAERE, ERIE COUNTY SHERIFF'S DEPARTMENT,

SANDRA NOLAN, Individually TIMOTHY B. HOWARD, MARK WIPPERMAN, THOMAS DIINA, and
and as husband & wife JEFFREY HARTMAN
(b) County of Residence of First Listed Plaintiff Erie County of Residence of First Listed Defendant ERIE
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

 

 

 

 

 

     

 

 

 

    

 

       

 

   

 

 

  

    

 

 

 

 

 

 

 

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)
Steve M. Cohen, Esq. HOGAN WILLIG, PLLC Erin E. Molisani, ERIE COUNTY ATTORNEY'S OFFICE
2410 North Forest Rd., Suite 301 95 Franklin St., Rm. 1634
Amherst, NY 14068 / (716) 636-7600 Buffalo, NY 14202 / (716) 858-2216
II. BASIS OF JURISDICTION (Place an “X’’ in One Box Only) III. CITIZENSHIP OF PRINCIPAL PARTIES {Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
Ol US. Government % 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State *1 ai Incorporated or Principal Place a4 4
of Business In This State
2 US. Government O 4 Diversity Citizen of Another State QO 2 © 2 Incorporated and Principal Place a5 a5
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a o3 O 3 Foreign Nation . o6e o6
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
ee | CONTRACT we | oe TORTS See op ¢FORFEITURE/PENALTY ‘| |. BANKRUPTCY. 2. |. _OTHER STATUTES”
© 110 Insurance PERSONAL INJURY PERSONAL INJURY CF 625 Drug Related Seizure (1) 422 Appeal 28 USC 158 O 375 False Claims Act
O 120 Marine © 310 Airplane (7 365 Personal {njury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
7 130 Miller Act CO 315 Airplane Product Product Liability 0 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability 1 367 Health Care/ C1 400 State Reapportionment
0 150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical  PROPERTY.RI SJ 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
G 151 Medicare Act 330 Federal Employers’ Product Liability © 830 Patent 0 450 Commerce
(1 152 Recovery of Defaulted Liability 368 Asbestos Personal © 835 Patent - Abbreviated 1 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |( 470 Racketeer Influenced and
(Excludes Veterans) 0 345 Marine Product Liability O 840 Trademark Corrupt Organizations
( 153 Recovery of Overpayment Liability PERSONAL PROPERTY |...) LABOR __« uf SOCIAL SECURITY... =.) 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle 0 370 Other Fraud O 710 Fair Labor Standards OC) 861 HIA (1395ff) 11 485 Telephone Consumer
0 160 Stockholders’ Suits (1 355 Motor Vehicle 1 371 Truth in Lending Act O} 862 Black Lung (923) Protection Act
1 190 Other Contract Product Liability 0 380 Other Personal CO 720 Labor/Management CF 863 DIWC/DIWW (405(g))_ |G 490 Cable/Sat TV
( 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI 0 850 Securities/Commodities/
0 196 Franchise Injury 1 385 Property Damage 11. 740 Railway Labor Act C1 865 RSI (405(g)) Exchange
©} 362 Personal Injury - Product Liability 0 751 Family and Medical 890 Other Statutory Actions
Medical Malpractice Leave Act O 891 Agricultural Acts
LPROPERTY __.| « «CIVIL RIGHTS = "| PRISONER PETITIONS (|01 790 Other Labor Litigation |. FEDERAL’TAX SUITS - | 893 Environmental Matters
OF 210 Land Condemnation &K 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement 1 870 Taxes (U.S. Plaintiff 1 895 Freedom of Information
© 220 Foreclosure 0 441 Voting 1 463 Alien Detainee Income Security Act or Defendant} Act
O 230 Rent Lease & Ejectment O 442 Employment O 510 Motions to Vacate 0 871 IRS—Third Party OF 896 Arbitration
0) 240 Torts to Land 1 443 Housing/ Sentence 26 USC 7609 O} 899 Administrative Procedure
O 245 Tort Product Liability Accommodations O 530 General | Act/Review or Appeal of
1 290 All Other Real Property ©) 445 Amer. w/Disabilities -| 1 535 Death Penalty "5, IMMIGRATION __ Agency Decision
Employment Other: © 462 Naturalization Application 1 950 Constitutionality of
CF 446 Amer. w/Disabilities -] 1 540 Mandamus & Other [0 465 Other Immigration State Statutes
Other © 550 Civil Rights Actions
448 Education 555 Prison Condition
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Conditions of
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V. ORIGIN (Place an “X” in One Box Only)
O11 Original 2X2 Removed from O 3  Remanded from 014 Reinstated or © 5 Transferred from | 6 Multidistrict O18 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

29 USC Sections 1441 (B) and 1446

Brief description of cause: . . oo
14th amendment claim and others following Plaintiff's termination

VI. CAUSE OF ACTION

 

 

 

 

 

 

VIE. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: WM Yes ONo
VHI. RELATED CASKE(S)
IF ANY (See instructions): JUDGE DOCKET BER
DATE SIGNATURE.OF ATTQRNEY OF RECORD
awl UMAR AN
FOR OFFICE USE ONLY -

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
